






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-06-00666-CV






Appellant, State of Texas// Cross-Appellant, Mid-South Pavers, Inc.


v.


Appellee, Mid-South Pavers, Inc.// Cross-Appellee, State of Texas






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 345TH JUDICIAL DISTRICT

NO. D-1-GN-06-000141, HONORABLE JOHN DIETZ, JUDGE PRESIDING




O P I N I O N



		This appeal arises from a dispute over a highway construction contract between
Appellant/Cross-Appellee the Texas Department of Transportation and Appellee/Cross-Appellant
Mid-South Pavers, Inc.  See Tex. Transp. Code Ann. §&nbsp;201.112 (West Supp. 2007).  After Mid-South
filed an administrative complaint, which TxDOT denied, a hearing was held before an administrative
law judge at the State Office of Administrative Hearings.  The ALJ submitted a proposal for decision
to the executive director of TxDOT for adoption.  In the agency's final order, the executive director
rejected several of the ALJ's findings of fact and conclusions of law and substituted his own findings
and conclusions in place thereof.  Mid-South sought judicial review of the final order in district
court, and the district court reversed, finding that the executive director committed error by declining
to adopt the ALJ's findings of fact and conclusions of law in the PFD.  For the reasons set forth
below, we affirm the district court's judgment reversing the final order in part, and we reverse in part
and remand this cause to TxDOT for further proceedings consistent with this opinion.


FACTUAL AND PROCEDURAL BACKGROUND


The highway construction contract

		On December 29, 1998, Mid-South entered into a highway construction contract with
TxDOT to repair and re-pave 25.306 kilometers, or approximately 15 miles, of Interstate Highway
20 in Parker County.  The contract price was $4,373,977.16.  The project required two general tasks:
full-depth repairs of the concrete pavement in the driving lanes and complete re-paving of the
shoulders and roadway in asphalt.  The repaving of the shoulders and roadway was divided into six
separate stages:  placement of microsurfacing (1) on bridge decks; planing of the shoulders and
repaving them with Type B hot mix; placement of the HMAC base; placement of the Petromat; (2)
placement of the Type D hot mix asphalt surface on the driving lanes; and placement of pavement
markings and markers.  All of the work under the contract was to be completed within 135 days.  If
Mid-South failed to complete the work in a timely manner, the contract allowed TxDOT to impose
liquidated damages of $1,000 per day.

		The parties held a preconstruction meeting on January 22, 1999. (3)  Present at this
meeting were Jimmey Bodiford, John Bailey, Allen Boone, Neal Kime, John Sharpe, and Ray
Buzalsky on behalf of TxDOT; Ron Gillihan, Jeff Hannon, Luke Miller, and Ed Parks on behalf of
Mid-South; and Russell Baldwin and Brady Gage on behalf of J.L. Steel, a Mid-South subcontractor. 
Work began on the contract three days later on January 25, 1999.  TxDOT accepted the project as
complete on January 29, 2001, and imposed $216,000 in liquidated damages.


Administrative proceedings and judicial review

		Following TxDOT's acceptance of the project, Mid-South initiated administrative
proceedings under section 201.112 of the Texas Transportation Code for additional compensation
in the amount of $2,570,654.76, including a refund of the liquidated damages assessed by TxDOT. 
See Tex. Transp. Code Ann. §&nbsp;201.112 (allowing for administrative resolution of claims against
TxDOT); Texas Dep't of Transp. v. Jones Bros. Dirt &amp; Paving Contractors, Inc., 92 S.W.3d 477,
484 (Tex. 2002) (statutory procedure under section 201.112 is exclusive remedy for contract disputes
between TxDOT and private parties).  Mid-South presented fourteen claims for additional
compensation and also sought recovery of attorney's fees, costs, and interest.

		After TxDOT denied Mid-South's claims, Mid-South requested a contested case
hearing before an ALJ.  See Tex. Transp. Code Ann. §&nbsp;201.112(b).  The case was referred to SOAH
for a hearing.  A three-day hearing was held in February 2005, and the parties presented live
testimony from eleven witnesses.  In addition, the parties filed almost seventy exhibits, including
deposition testimony from additional witnesses.  After the close of the hearing and evidentiary
record, the ALJ prepared a PFD recommending that all or part of seven of Mid-South's claims be
granted in the amount of $1,097,885.70.  The ALJ also recommended that Mid-South recover
attorney's fees in the amount of $102,680.59, and interest.  The total recommended recovery was
$1,200,566.29, plus interest.

		Upon review and consideration of the PFD, TxDOT's executive director concluded
that all or part of six of Mid-South's claims should be granted in the amount of $605,135.96.  The
executive director also concluded that Mid-South's claims for attorney's fees and interest should be
denied.  TxDOT made a final payment of $605,135.96 to Mid-South on December 23, 2005.

		Mid-South sought judicial review of the final order in district court.  See Tex. Transp.
Code Ann. §&nbsp;201.112(d).  Finding that the executive director erred in failing to comply with section
2001.058(e) of the Administrative Procedure Act and in denying Mid-South's recovery of attorney's
fees as allowed under chapter 2251 of the government code, the district court reversed the final order
and remanded the cause to TxDOT for further proceedings.  This appeal followed.


Mid-South's claims for additional compensation

		On appeal, the parties join issue on three of the claims for additional compensation
urged by Mid-South below, as well as Mid-South's request for attorney's fees and interest.  With
respect to each of these claims, Mid-South challenges the executive director's changes to the ALJ's
proposed findings of fact and conclusions of law.  Accordingly, a description of the disputed claims
and the related changes made by the executive director follows.


	1.	Reduced lane closures/Operational delays

		Mid-South sought additional compensation of $1,380,583.81 for work delays caused
by TxDOT's refusal to allow overnight lane closures.  The ALJ recommended approval of this claim
in the amount of $610,743.  Upon review, the executive director reduced Mid-South's recovery on
this claim to $359,262.

		From the outset, the parties disputed whether the contract allowed overnight lane
closures.  The record reflects that the issue of overnight lane closures was raised and discussed by
the parties several times during the preconstruction meeting but was never resolved.  The ALJ found
that four provisions in the contract would have led Mid-South to believe that overnight lane closures
would be permitted:



  	Items 1 thru 6 shall be accomplished with no more than one lane closure, 4
kilometers in total length in place on each of the eastbound and westbound
lanes at the same time.


	


  	The area of exposed fabric shall at no time exceed the area which may be
covered in two days' hot mix asphalt laying operation.  The initial area of
fabric coverage will be determined by the engineer and thereafter will be
determined by the area covered by hot mix asphalt on the two preceding days
of laying operations.

  	It is the intent of these plans that exposed fabric alone shall not be open to
thru traffic.



	

  All pavement repair in ramps, ramp acceleration lanes shall be made in
daylight hours so that such lanes shall be restored and remain unobstructed 
for travel at night.




		Mid-South's owner, Ronald Gillihan, testified that overnight lane closures were "very
common" in highway construction projects and that he considered that as a factor when deciding
whether to bid on a particular job, including this one.  Gillihan further testified that if TxDOT
intended to preclude overnight lane closures, that type of restriction would normally be included in
the plans.  With regard to the contract provisions quoted above, Gillihan testified that he understood
the language in the first provision to allow one lane closure in each of the two eastbound lanes and
each of the two westbound lanes as long as the lane closures did not impede the traffic.  Gillihan
testified that he understood the language in the second and third provisions to allow overnight lane
closures.  According to Gillihan, the language in these provisions would allow Mid-South to lay
enough Petromat in one day that it could cover with asphalt in two days but that Mid-South would
have to prevent traffic from driving on the exposed Petromat surface, which would require an
overnight lane closure.  Gillihan also testified that he understood the fourth provision to mean that
Mid-South could not have overnight closures of ramps and acceleration lanes, but that overnight
closures of the driving lanes were not otherwise prohibited.

		When Mid-South was ready to begin the asphalt milling and paving operations on the
driving lanes, the record reflects that TxDOT refused to authorize overnight lane closures.  As a
result of TxDOT's refusal to permit overnight lane closures, Mid-South was required to spend an
additional two to three hours per day to set up traffic control and equipment.  This resulted in a loss
of efficiency in Mid-South's ability to perform the contract, and Mid-South faced the prospect of
incurring liquidated damages as a result of the delays.

		When questioned about its refusal to permit overnight lane closures, the evidence
shows that TxDOT gave two conflicting answers.  First, TxDOT claimed that Mid-South had lost
its contractual right to have overnight lane closures because of poor safety practices.  Two TxDOT
witnesses, Stucker and Bodiford, testified about Mid-South's poor safety performance.  Stucker
testified that he would rate Mid-South's performance on safety at a one out of ten, with one being
the lowest score, because Mid-South ignored his instructions on safety matters on multiple
occasions.  Bodiford testified that Mid-South "was creating an undue burden on the traveling
public."  The second reason given by TxDOT for its refusal to allow overnight lane closures was that
it never intended to allow them in the first instance.  Stucker testified, "Well, it was our intent that
this--that the plans weren't set up for--or they weren't--you know the overnight closures weren't
intended."  Another TxDOT witness, Robert Julian, testified that "the intent was not to have any
planned overnight lane closures."  Julian further testified that if Mid-South planned to have overnight
lane closures Mid-South "should have [had] enough foresight . . . to call and ask if that's going to
be acceptable," even though he agreed that nothing in the plain language of the contract prohibited
overnight lane closures.

		Applying the "gross error standard" (4) to Mid-South's claim, the ALJ determined
that&nbsp;TxDOT committed error based on its failure to "extend[ ] the length of the project to
accommodate the change in work conditions" and the referee's (5) "failure to exercise honest
judgment."  Based on these determinations, the ALJ recommended granting Mid-South's claim in
the amount of $610,743.  Upon review of the PFD, the executive director reduced Mid-South's
recovery on this claim to $359,262.

		The difference between the amount recommended by the ALJ and the amount
ultimately awarded by the executive director stems from the different loss of efficiency factors
applied by the ALJ and the executive director for Mid-South's role in creating delays.  In reaching
his recommendation of $610,743, the ALJ relied on the expert testimony of Charles Odom, who
testified on behalf of Mid-South that Mid-South's efficiency should be reduced by a factor of 15%. 
In contrast, the executive director determined that Mid-South's efficiency should be reduced by a
factor of 50% because Mid-South "was also responsible for the delay." (6)  Based on this
determination, the executive director made changes to findings of fact 92 and 96.  The executive
director provided the following explanation for these changes:


	While the ALJ recommended a discount factor of 15% as proposed by Mid-South's
witness Mr. Odom, a factor of 50% is more appropriate.  Mr. Odom's determination
that Mid-South was 15% responsible was a figure that Mr. Odom testified "just
popped out."  His testimony is an admission that Mid-South was also responsible for
the delay.  The estimation should be increased to 50% because Mid-South
participated in the pre-construction meeting but did not effectively communicate
concerning whether overnight lane closures were allowed.  Mid-South's Mr. Gillihan
received a copy of the minutes of the meeting (showing the issue unresolved) but he
did not read them.  Mid-South never contacted TxDOT for clarification of the
contract. (7)



(Citations omitted.)

	

	2.	Microsurfacing

		Under the original work schedule, the microsurfacing was to be completed after the
full-depth concrete repairs, but prior to the asphalt paving.  As a result of delays associated with
multiple change orders regarding the concrete repairs, Mid-South was compelled to shift the
microsurfacing out of sequence.  Because the concrete repairs were not completed until December
of 1999, the cold-weather conditions prevented Mid-South from completing the microsurfacing until
the following spring. (8)

		The record shows that Mid-South subcontracted the application of microsurfacing to
Cox Paving.  After Cox Paving completed the microsurfacing, TxDOT began to notice several
problems with the paved surface.  Both the ALJ and the executive director determined that the
principal cause of the microsurfacing failure was the installation of multiple layers of
microsurfacing.  Mid-South and TxDOT discussed various options for correcting the problems with
the microsurfacing, and Mid-South ultimately agreed to pay another subcontractor to remove the
defective microsurfacing.  Mid-South then sought additional compensation for the microsurfacing
work as part of its administrative claims.

		The technical challenge faced by Cox Paving was to install the microsurfacing so as
to create a smooth transition from the paved surfaces to the bridge surfaces.  As the ALJ explained,
this challenge was made more difficult because the approaches to the bridge were uneven.  Although
the evidence showed that TxDOT considered milling the approaches to create a more uniform
surface on which the two pavement surfaces could tie smoothly together, TxDOT rejected
this&nbsp;technique.

		David Laumer, the supervisor for Cox Paving, testified that Keith Stucker, a TxDOT
inspector, contacted him directly (9) and asked if it was possible to raise the level of the microsurfacing
to better match the level of asphalt on the bridge deck.  Laumer responded that the only way to do
this was to apply two layers of microsurfacing.  Laumer testified that Stucker instructed him to install
two layers of microsurfacing on all the bridges.  Stucker testified that he did not instruct Cox Paving
to install two layers of microsurfacing.

		The ALJ recommended that Mid-South's claim for additional compensation be paid
on the basis that TxDOT had interfered with Mid-South's management of the work on the contract. (10) 
The ALJ also recommended that TxDOT add 82 days to the contract period resulting in the return
of an additional $82,000 in liquidated damages to Mid-South.  The executive director rejected this
recommendation on the basis of Stucker's testimony that he did not instruct Cox Paving to install
two layers of microsurfacing.  Based on his determination that Stucker did not instruct Cox Paving
to apply two layers of microsurfacing, the executive director made changes to findings of fact 167,
170, 172, and 175.  The executive director explained the rationale for these changes in finding of fact
167 of the final order:

	While the ALJ concluded that Mr. Stucker (a TxDOT employee) instructed Cox to
install two lifts of microsurfacing, the preponderance of the evidence does not
support that conclusion.  The deposition of the supervisor for Cox Paving, David
Laumer, showed that when discussing the uneven level of the two surfaces, he
suggested to Mr. Stucker that the problem could be solved by applying two lifts of
microsurface.  Mid-South Exhibit No. 22, p.4, lines 8-10.  The next succeeding
finding of fact shows Mr. Laumer's proposed solution turned out to be the cause for
the future failure of the microsurfacing.  His deposition also shows that, according
to Mr. Laumer, Mr. Stucker "directed" Mr. Laumer to apply two lifts of
microsurface.  His deposition was taken in February 2005.  In contrast, earlier in time
(during the surfacing of the first bridge), Mr. Laumer described to Marion [Ed] Parks
the same communications Mr. Laumer had with Mr. Stucker.  At that time, as Mr.
Parks recalled the conversation, Mr. Laumer only said that he had "got together" with
Mr. Stucker on "it."  It is not clear whether "it" was a discussion of the problem, or
of any proposed solution to the problem.  Tr. 384, lines 6-25.  Mr. Stucker's
testimony showed he did not instruct Mr. Laumer to apply two lifts of microsurface. 
Tr. 1071, lines 10-20.  When the decision was made to apply two lifts of
microsurface, contemporaneous meeting minutes and correspondence also show that
Cox Paving made the decision.  TxDOT Exhibit No. P1B (attachment F).


		The executive director also made a corresponding change to conclusion of law 9,
which deleted the reference in that conclusion to Mid-South's microsurfacing claim.


	3.	Return of liquidated damages

		As a result of his decision to reject Mid-South's claim related to microsurfacing, the
executive director made the following related changes to findings of fact 195 and 196 regarding
liquidated damages: (11)


	195.	Because Claim No. 12, relating to microsurfacing, was [dis]approved, and the
parties do not dispute that TxDOT charged 82 days to the contract while this
issue was being resolved, Mid-South is [not] entitled to an 82-day extension
on this part of the claim.


	196.	Mid-South is entitled to a total extension of 109 [27] days, translating into a
reduction in liquidated damages of $109,000 [$27,000]. (12)


	4.	Attorney's fees and interest

		Because the executive director denied Mid-South's claims under the Prompt Payment
Act for attorney's fees and interest, the executive director made changes to findings of fact 197 and
198 to reflect this denial.  The executive director also made corresponding changes to conclusions
of law 12 and 13.  To the extent the executive director provided an explanation for these changes,
that explanation appears in the final order at conclusion of law 12 as follows:


	The case concerns the adjudication of Mid-South's contract claims under
Tex.&nbsp;Transp. Code §&nbsp;201.112, which does not authorize the payment of interest or
attorney's fees.  A contract claim and a Prompt Payment Act claim are two different
questions.  Alamo Community College District v. Browning Construction Co.,
131&nbsp;S.W.3d 146, 167 (Tex. App.--San Antonio 2004, pet. filed).[ (13)] Here there was
a bona fide dispute between Mid-South and TxDOT and therefore the Prompt
Payment Act did not apply.  Tex. Gov't Code ch. 2251.


DISCUSSION


		In five issues TxDOT complains the trial court erred in its reversal of the final order. 
Specifically, TxDOT argues that the trial court incorrectly required the executive director to meet
the requirements in government code section 2001.058 when changing the ALJ's proposed findings
of fact and conclusions of law.  TxDOT further argues it has sovereign immunity from Mid-South's
claims for attorney's fees and interest; substantial evidence supports the executive director's
findings, conclusions and decisions regarding operational delays, microsurfacing and return of
liquidated damages; and there was no error in the executive director's deletion of findings of fact and
conclusions of law that did not affect the final decision.

		Mid-South responds that the trial court correctly applied section 2001.058; the
executive director improperly changed the ALJ's findings of fact and conclusions of law; the
doctrine of sovereign immunity is not implicated with respect to Mid-South's claims for attorney's
fees and interest; and there is no evidence to support the executive director's reduction to Mid-South's efficiency factor.  On cross-appeal, Mid-South contends the trial court erred in denying its
claim for interest.  Mid-South claims it was entitled to recover interest because the evidence shows
there was not a bona fide dispute between Mid-South and TxDOT.


Standard of review

		We review TxDOT's final order under the substantial evidence rule.  See Tex. Transp.
Code Ann. §&nbsp;201.112(d); Tex. Gov't Code Ann. §&nbsp;2001.174 (West 2000).  "Broadly speaking, the
substantial evidence rule is a court review device to keep the courts out of the business of
administering regulatory statutes enacted by the Legislature; but it remains the business of the courts
to see that justice is administered to competing parties by governmental agencies."  Lewis v. Metro.
Sav. &amp; Loan Ass'n, 550 S.W.2d 11, 13 (Tex. 1977).  Under a substantial-evidence review, we
presume that the agency's order is supported by substantial evidence, and the appellant has
the&nbsp;burden of overcoming this presumption.  Graff Chevrolet Co., Inc. v. Texas Motor Vehicle Bd.,
60&nbsp;S.W.3d 154, 159 (Tex. App.--Austin 2001, pet. denied).  When a court is applying the
substantial-evidence standard of review to an agency decision, the issue for the reviewing court is
not whether the agency's decision was correct, but whether the record demonstrates some reasonable
basis for the agency's action.  Central Power &amp; Light Co. v. Public Util. Comm'n, 36 S.W.3d 547,
561 (Tex. App.--Austin 2000, pet. denied).  We may not substitute our judgment for that of the
agency on matters committed to agency discretion.  Tex. Gov't Code Ann. § 2001.174; H.G. Sledge,
Inc. v. Prospective Inv. &amp; Trading Co., Ltd., 36 S.W.3d 597, 602 (Tex. App.--Austin 2000,
pet.&nbsp;denied).  We will reverse the agency's order if the decision is not reasonably supported by
substantial evidence, is arbitrary or capricious, or is characterized by an abuse of discretion.  See
Tex.&nbsp;Gov't Code Ann. §&nbsp;2001.174(2)(E), (F).


TxDOT's claims

	1.	Tex. Transp. Code Ann. §&nbsp;201.112 v. Tex. Gov't Code Ann. §&nbsp;2001.058(e)

		In its first issue, TxDOT argues the trial court erred in requiring the executive director
to meet the standards in section 2001.058(e) of the government code when changing the ALJ's
findings of fact and conclusions of law.  Specifically, TxDOT contends the executive director need
only satisfy the requirements in section 201.112 of the transportation code when making changes to
the PFD.  Because he did so in this case, TxDOT maintains the trial court erred in reversing the final
order.  Mid-South responds that the Administrative Procedure Act (APA) provides minimum
standards for all state agencies and that nothing in section 201.112 expressly supersedes the
application of section 2001.058.  In support of these arguments, Mid-South relies on this Court's
opinion in Flores v. Employees Retirement System, 74 S.W.3d 532 (Tex. App.--Austin 2002,
pet.&nbsp;denied).

		While section 2001.058 provides the general rule that guides an agency's discretion
when making changes to an ALJ's findings of fact or conclusions of law, we agree with TxDOT that
section 2001.058 does not apply in this case.  The plain language of section 201.112(c) specifies that
section 201.112(c) of the transportation code, not section 2001.058 of the government code, governs
the executive director's discretion to make changes in a PFD.  Section 201.112(c) states:


	An administrative law judge's proposal for decision rendered under chapter 2001,
Government Code, shall be submitted to the director for adoption.  Notwithstanding
any law to the contrary, the director may change a finding of fact or conclusion of
law made by the administrative law judge or may vacate or modify an order issued
by the administrative law judge.  The director shall provide a written statement
containing the reason and legal basis for a change made under this subsection.



Tex. Transp. Code Ann. §&nbsp;201.112(c) (emphasis added).  The phrase "[n]otwithstanding any law to
the contrary" makes clear the legislature's intent that section 201.112(c) supersede other Texas law
regarding an agency's ability to change findings of fact or conclusions of law, including section
2001.058 of the APA.  See, e.g., Southwestern Pub. Serv. Co. v. Public Util. Comm'n, 962 S.W.2d
207, 212-13 (Tex. App.--Austin 1998, pet. denied) ("SWEPCO") (finding similar language in
section 2003.049(g) of the government code expressly supersedes APA section 2001.058).  Rather
than imposing the general restrictive APA section 2001.058 on TxDOT proceedings heard by SOAH
under section 201.112, the legislature has crafted a specific provision for such proceedings. 
Accordingly, we conclude the trial court erred in applying section 2001.058 and requiring the
executive director to satisfy the provisions of that statute when making changes to the PFD.  We
sustain TxDOT's first issue on appeal.


	2.	Compliance with section 201.112

		Sustaining TxDOT's claim that the trial court erred in its application of section
2001.058 does not end our inquiry.  We must still determine whether the executive director's
changes to the PFD satisfy the standards in section 201.112(c).  Mid-South argues the executive
director failed to comply with section 201.112 and his changes to the ALJ's findings of fact and
conclusions of law were arbitrary and capricious and, therefore, the final order should be reversed. 
TxDOT responds, "There are no limitations imposed on the executive director's power to change
a finding of fact or conclusion of law."  Because we conclude the executive director acted arbitrarily
and capriciously and failed to comply with section 201.112 when making changes to the ALJ's
findings of fact and conclusions of law, we affirm the trial court's judgment reversing the final order.

		The executive director's authority to change a finding of fact or conclusion of law is
not without limits.  While section 201.112(c) allows the executive director to make changes to a
PFD, the executive director must provide a written statement containing the reason and legal basis
for any changes made.  See Tex. Transp. Code Ann. §&nbsp;201.112(c).  The executive director's final
order must be supported by substantial evidence considering the reliable and probative evidence in
the record as a whole.  See id. §&nbsp;201.112(d) (final order subject to review under the APA);
Tex.&nbsp;Gov't Code Ann. §&nbsp;2001.174.  It must comport with the executive director's statutory authority
and be free of constitutional, statutory, procedural, or other legal error, and it may not be arbitrary
or capricious or otherwise characterized by an abuse of discretion.  See Tex. Gov't Code Ann.
§&nbsp;2001.174.

		The executive director's changes to particular findings and conclusions suggest that
the executive director was acting as TxDOT's own factfinder despite the legislature having delegated
that duty to the ALJ in section 201.112(b).  See Montgomery Indep. Sch. Dist. v. Davis, 34 S.W.3d
559, 564 (Tex. 2000) ("Having chosen to delegate the fact-finding role to the hearing examiner, a
board cannot then ignore those findings with which it disagrees and substitute its own additional
findings.").  The record reflects that certain changes made by the executive director are not supported
by substantial evidence and, in some instances, the executive director failed to comply with the
requirement to provide a written statement containing the reason and legal basis for changing
the&nbsp;ALJ's findings of fact and conclusions of law.  See Tex. Transp. Code Ann. §&nbsp;201.112(c);
43&nbsp;Tex. Admin. Code §&nbsp;9.2(g)(4) (West 2007).  These aspects of the executive director's decision
raise serious due process concerns.

		While this Court has previously recognized that an administrative agency is not
subject to the same rules and restrictions as a court of law, an agency must respect the due process
rights of those persons who appear before it in contested cases.  See Flores, 74 S.W.3d at 539 (citing
Texas State Bd. of Pharmacy v. Seely, 764 S.W.2d 806, 815 (Tex. App.--Austin 1988, writ denied);
Madden v. Texas Bd. of Chiropractic Exam'rs, 663 S.W.2d 622, 625-27 (Tex. App.--Austin 1983,
writ ref'd n.r.e.)).  Section 201.112 contemplates that when a contractor is dissatisfied with TxDOT's
informal resolution of his claims, the contractor may request a formal administrative hearing to
resolve those claims under Chapter 2001 of the government code.  See Tex. Transp. Code Ann.
§&nbsp;201.112(b); Tex. Gov't Code Ann. §&nbsp;2001.051 (West 2000) (providing opportunity for contested
case hearing).  Under the statute and TxDOT's rules, this hearing is delegated to an ALJ at SOAH. 
See Tex. Transp. Code Ann. §&nbsp;201.112(b)-(c); 43 Tex. Admin. Code §§&nbsp;1.21-.33 (procedures in
contested cases),&nbsp;9.2(g)(3)(D)(ii) (request for contested case hearing) (West 2007).  The purpose of
such a hearing is to give the litigants an opportunity to present evidence. Any conflicts in the
evidence are resolved by the decision-maker by weighing the evidence and evaluating the credibility
of witnesses.  See F. Scott McCown, When Can an Agency Change the Findings or Conclusions of
an Administrative Law Judge? 50 Baylor L. Rev. 65, 74 (1998).  The resolution of disputed facts
requires weighing the evidence and making credibility determinations.  Id.  Accordingly, a neutral
decision-maker is crucial to a fair adjudicatory hearing.  2 Kenneth Culp Davis &amp; Richard J. Pierce,
Jr., Administrative Law Treatise §&nbsp;9.8 at 67 (3d ed. 1994).  Because the ALJ has heard the evidence
and observed the demeanor of the witnesses, the ALJ is in a superior position than an agency head
or board reviewing the proposed decision.  Id.

		By permitting a contractor dissatisfied with TxDOT's informal resolution of a claim
under section 201.112 to request a formal administrative hearing, the legislature has recognized the
importance of a neutral decision-maker.  See Tex. Transp. Code Ann. §&nbsp;201.112(b).  In addition, the
legislature has cabined the executive director's discretion to make changes to the ALJ's proposed
decision by requiring the executive director to provide a written statement of the reason and legal
basis for each change.  Id. §&nbsp;201.112(c).  The supreme court recognized the importance of this
limitation in Montgomery Independent School District v. Davis:


	If a board could find additional facts, resolving conflicts in the evidence and
credibility disputes, it would then be serving as its own factfinder despite delegating
the factfinding role to a hearing examiner, and the process of using an independent
factfinder would be meaningless.  An independent factfinder is integral to the
structure of the hearing-examiner process; permitting a school board to select an
independent factfinder avoids having the board, a party to the dispute, act as its own
factfinder when reviewing the employment decision of its own administration.  The
Legislature has further protected the independent nature of the hearing-examiner
process by requiring the board to state in writing the reason, including the legal basis
for any change or rejection it makes under section 21.5259 [of the education code].


34 S.W.3d 559, 564 (Tex. 2000).  Because of the seriousness of the issues raised by the executive
director's treatment of Mid-South's claims, we discuss each of the director's changes to the ALJ's
proposed findings of fact and conclusions of law.


		A.	Reduced lane closures/Operational delays

		With respect to Mid-South's request for additional compensation on this claim, the
ALJ recommended awarding Mid-South $610,743.  In the final order, however, the executive
director awarded Mid-South $310,262 on this claim.  The primary difference between the amount
proposed by the ALJ and the amount awarded by the executive director results from the executive
director's application of a 50% reduction to Mid-South's efficiency.  The executive director
explained that he applied a 50% reduction to Mid-South's efficiency because Mid-South "was also
responsible for the delay" and that "Mid-South never contacted TxDOT for clarification of the
contract."  We conclude, however, that the executive director's explanation for his changes to
findings of fact 92 and 96, and the related change to conclusion of law number 11, is not supported
by substantial evidence.

		The record reflects that Mid-South presented testimony from three
witnesses--Charles Odom, Dr. John Borcherding, and Dr. Calin Popescu--regarding the delays that
resulted from TxDOT's initial refusal to permit overnight lane closures.  Odom testified that based
on his experience and training he reduced Mid-South's efficiency by 15%.  Although TxDOT
presented the testimony of Charles Shook on this issue, the record reflects that Shook did not
recommend a reduction to Mid-South's efficiency, but instead presented an entirely different
calculation of the amount that Mid-South should recover on this claim.  This Court has previously
held that an agency decision that falls within the range of relevant evidence in the record is supported
by substantial evidence.  See Central Power &amp; Light Co. v. Public Util. Comm'n, 36 S.W.3d 547,
559 (Tex. App.--Austin 2000, pet. denied).  The only evidence in the record regarding a reduction
to Mid-South's efficiency was the 15% figure presented by Odom.  There is nothing in the record
to support the executive director's determination that Mid-South's efficiency should be reduced by
a factor of 50%.  While it may be true that Mid-South was also responsible for some of the delay,
without more, this fact alone does not translate into a 50% reduction to Mid-South's efficiency. 
Therefore, we conclude that findings of fact 92 and 96 (and conclusion of law number 11) are not
supported by substantial evidence.  Accordingly, we affirm the district court's reversal of the final
order and remand for further proceedings on the issue of operational delays.


		B.	Microsurfacing

		The executive director also made changes to the ALJ's proposed decision regarding
those claims related to microsurfacing.  The ALJ recommended granting Mid-South's
microsurfacing claim in the amount of $159,269.  But, in the final order, the executive director
denied this claim altogether, making changes to findings of fact 167, 170, 172, and 175 and
conclusion of law 11.  Both the ALJ and the executive director based their decisions on the testimony
of David Laumer, a supervisor for Cox Paving, and Keith Stucker, a TxDOT employee.  The
explanation given by the executive director in finding of fact 167 reflects that the executive director
also relied on the testimony of Marion Edward "Ed" Parks, a Mid-South employee, and TxDOT
Exhibit No. P1B (Attachment F). (14)

		The record reflects that Laumer and Stucker gave conflicting testimony with Laumer
stating that Stucker instructed him to apply two layers of microsurfacing and Stucker claiming that
he did not instruct Laumer to apply two layers of microsurfacing.  Parks's testimony reflects that
Laumer got together with Stucker on "it."  In his explanation for the changes to the ALJ's findings,
the executive director acknowledges that Parks's testimony "is not clear whether 'it' was a
discussion of the problem, or of any proposed solution to the problem."  Thus, Parks's testimony
fails to resolve the direct conflict between the testimony of Laumer and Stucker.  The executive
director's explanation shows that he attempted to resolve this conflict by relying on Attachment F
in TxDOT Exhibit No. P1B.  Referring to a letter from Mid-South to Cox Paving on August 11,
2000, Attachment F contains the following excerpt:


	On June 8, 2000 when David Laumer met with Midsouth Pavers Ed Parks, he was
shown the bridge deck and approaches.  He told Mr. Parks that microsurfacing would
be able to correct any deficiencies.  He never told Our Project Superintendent that
there was a danger of rutting or loss of texturing.  In fact, David Laumer told
Ed&nbsp;Parks that he had already showed Keith Stucker, chief Inspector for TxDOT, what
he planned on doing and had Keith's blessing.  If this job could be built as directed
by the plans and specifications, your representative had the duty to notify Midsouth
Pavers before any work began.


* * *



	Keith Stucker, chief Inspector notified Midsouth Pavers after the first bridge deck
was completed, Sanchez Creek, that Cox Paving takeoff header was unacceptable. 
When Ed Parks and Larry Brown pointed out high spot to David Laumer, he said
Keith Stucker had already made him aware of the bump they had left.  Ed Parks
offered David Laumer the use of straightedge, he declined, stating that he could fix
the problem.  Once again, Midsouth Pavers was not informed of any potential
problems that could result from your effort to correct your problem . . . .



(Emphasis added.)  The ALJ stated that he gave no weight to the Bohuslav report, but the executive
director relied on this excerpt from Attachment F in support of his determination that Cox Paving,
not TxDOT, made the decision to apply two layers of microsurfacing.  This excerpt does not
conclusively identify who made the decision or gave approval to apply two layers of microsurfacing.
The italicized statement merely demonstrates that Laumer "planned" to do something--presumably
to apply two layers of microsurfacing--and that Stucker gave his "blessing" to this plan.  Thus, we
are still confronted with the conflict between the testimony of Laumer and Stucker.

		This Court considered a similar situation in which an agency reversed a hearings
examiner's findings based on credibility in Texas State Board of Medical Examiners v. Birenbaum,
891 S.W.2d 333 (Tex. App.--Austin 1995, writ denied).  In that case, the hearings examiner
discounted the testimony of two witnesses because she questioned their credibility.  Id. at 337.  The
Board's final order showed that the Board clearly found both witnesses to be credible.  Id. 
Recognizing the substantial evidence standard of review, we concluded it was unnecessary to address
this apparent discrepancy in the findings between the hearings examiner and the Board because there
was independent evidence in the record to support the Board's decision.  Id. at 338.

		In the record before us, there is no other evidence that conclusively resolves the
credibility conflict between Laumer and Stucker, and we must now consider the question we left
unanswered in Birenbaum.  Like the situation we addressed in Birenbaum, the ALJ, a neutral
disinterested decision-maker who heard the testimony and observed the demeanor of the witnesses,
resolved the credibility conflict in favor of Mid-South, whereas the executive director, the
administrative head of an interested party who reviewed the PFD, resolved the same conflict in favor
of TxDOT.  On this record, there is a clear question of witness credibility, which was resolved by
the ALJ one way and by the executive director in a completely different way.  By resolving conflicts
and credibility issues in disputed evidence, the executive director has essentially stepped into the
shoes of the factfinder and reweighed the evidence to reach a specific result.  This is not what the
legislature envisioned in section 201.112.

		In that section, the legislature allowed TxDOT to establish by rule an informal
procedure to resolve certain contract claims.  See Tex. Transp. Code Ann. §&nbsp;201.112(a).  If a person
was dissatisfied with TxDOT's informal resolution, the legislature allowed that person to request
a formal administrative hearing pursuant to Chapter 2001 of the government code--i.e., the APA. 
Id. §&nbsp;201.112(b).  The legislature has also required the executive director to provide a written
statement of the reason and legal basis for any change the executive director makes to the ALJ's
proposed decision.  Id. §&nbsp;201.112(c).  By allowing a person to request a formal administrative
hearing, the legislature has delegated the factfinding role to the ALJ, not to the executive director. 
Having delegated this factfinding role to the ALJ, the legislature in section 201.112 did not permit
the executive director to disregard those findings with which he disagrees and substitute his own
findings.  See Davis, 34 S.W.3d at 564.  By requiring the executive director to provide a written
statement of the reason and legal basis for any changes to the ALJ's proposal, the legislature has
safeguarded the independent nature of the administrative hearing process.  See id.; Flores, 74 S.W.3d
at 540.  The executive director's decision on the microsurfacing issue is at odds with these
fundamental administrative law principles.

		The supreme court has made clear that an agency's final order may be supported by
substantial evidence and yet be invalid for arbitrariness.  Texas Health Facilities Comm'n v. Charter
Med.-Dallas, Inc., 665 S.W.2d 446, 454 (Tex. 1984); Lewis, 550 S.W.2d at 13-14; Starr County
v.&nbsp;Starr Indus. Servs., Inc., 584 S.W.2d 352, 355-56 (Tex. Civ. App.--Austin 1979, writ ref'd n.r.e.);
compare Tex. Gov't Code Ann. §&nbsp;2001.174(2)(E) with id. §&nbsp;2001.174(2)(F).  "[A]rbitrary action of
an administrative agency cannot stand."  Lewis, 550 S.W.2d at 16.  An administrative agency acts
in an arbitrary manner when the treatment accorded to parties in the administrative process denies
them due process of law.  Id.  At a minimum, due process requires that an agency's decision comport
with the authority granted to the agency under its own statute and rules.  Id. at 13 (agency
proceedings must satisfy due process).  In deciding whether the executive director acted arbitrarily
and capriciously, we must determine whether the final order was based on a consideration of all
relevant factors and whether there is a rational connection between the facts and the decision of the
executive director.  See Starr County, 584 S.W.2d at 355-56.  We may not substitute our judgment
for that of the agency.  Id.

		The executive director's explanation for the changes made to findings of fact 167,
170, 172 and 175 demonstrates that the executive director abused his discretion in making these
changes and that his decision was arbitrary and capricious.  Although section 201.112 gives the
executive director broad discretion to make changes to the ALJ's proposed findings of fact and
conclusions of law, the executive director may not ignore the evidence.  See Tex. Gov't Code Ann.
§&nbsp;2001.174.  Given the ambiguities in the testimony of Ed Parks and TxDOT Exhibit No. P1B, the
executive director's explanation shows that he simply chose to believe Stucker, a TxDOT employee,
over Laumer, a third-party subcontractor. (15)  We have found no other independent evidence in the
record to support the executive director's determination that Stucker did not instruct Cox paving to
apply two layers of microsurfacing.  The executive director's explanation thus gives the appearance
of being arbitrary and capricious because the executive director did not hear the testimony or
evaluate the witnesses' demeanor, and yet he chose to resolve the conflict in testimony and
credibility in favor of TxDOT, irrespective of the facts as determined by the ALJ.

		On this record, we conclude that the executive director's decision was arbitrary and
capricious.  There is no rational connection between the facts as supported by the evidence and the
executive director's decision.  We are unpersuaded by TxDOT's argument that section 201.112
allows the executive director to reweigh the evidence and substitute his own credibility
determinations in place of those made by the ALJ.  See Davis, 34 S.W.3d at 564; Flores, 74 S.W.3d
at 540-41.  This is not to say that the ALJ's credibility determinations are always immune from
change under section 201.112.  See, e.g., SWEPCO, 962 S.W.2d at 214 (section 2003.049(g) of the
government code allows the public utility commission to reevaluate the evidence admitted at a
SOAH hearing to determine if the ALJ's findings are supported by a preponderance of evidence);
Birenbaum, 891 S.W.2d at 338 (board may change credibility findings where change is supported
by independent record evidence).  But on this record, where the ALJ, and not the executive director,
heard the testimony and observed the demeanor of the witnesses, and in the absence of independent
evidence in the record to support the executive director's credibility choice, we conclude that the
executive director's decision to reject the ALJ's findings based on credibility was arbitrary and
capricious.  Accordingly, we affirm the district court's reversal of the final order and remand for
further proceedings on the issue of microsurfacing.


		C.	Return of liquidated damages

		In light of our conclusion that the executive director's decision on the microsurfacing
issue was arbitrary and capricious, we likewise conclude that the executive director's related changes
to findings of fact 195 and 196, and the corresponding change to conclusion of law 11, were arbitrary
and capricious.  We affirm the district court's reversal of the final order and remand for further
proceedings on the issue of return of liquidated damages.


		D.	Changes to other findings

		In its fifth issue on appeal, TxDOT argues that the executive director need not provide
a written statement of the reason and legal basis for those changes to findings of fact or conclusions
of law "that did not affect the final decision."  Because every finding of fact and conclusion of law
plays a role in the agency's final decision, it is difficult for us to see how TxDOT can argue that any
change by the executive director, other than perhaps a typographical correction, would not affect the
final decision in some manner.  Moreover, the legislature has expressly required the executive
director to provide a written statement containing the reason and legal basis for a change to the ALJ's
findings or conclusions.  Tex. Transp. Code Ann. §&nbsp;201.112(c); see also Levy v. Texas State Bd. of
Med. Exam'rs, 966 S.W.2d 813, 816 (Tex. App.--Austin 1998, no writ) (agency required to
"articulate specifically its reasons for each individual change made"); Employees' Retirement Sys.
v. McKillip, 956 S.W.2d 795, 800 (Tex. App.--Austin 1997, no pet.) (same), overruled in part on
other grounds by Texas Natural Res. Conservation Comm'n v. Sierra Club, 70 S.W.3d 809, 814
(Tex. 2002).

		Our review and comparison of the PFD and the final order show that the executive
director deleted findings of fact 121 and 122 without providing the explanation required in section
201.112(c).  For this reason, we affirm the district court's reversal of the final order and remand for
further proceedings regarding these deleted findings.

		By our holding that the executive director must provide a written statement for each
individual change to the ALJ's findings or conclusions, we do not mean to prohibit an agency from
making corresponding changes to related findings of fact or conclusions of law for the same or
similar reasons.  Rather, we emphasize that the agency need only explain the rationale for each of
its changes.  See Levy, 966 S.W.2d at 816.  We overrule TxDOT's fifth issue.


	3.	Sovereign immunity

		In its second issue on appeal, TxDOT argues that it has sovereign immunity from
Mid-South's claims for attorney's fees and interest.  More specifically, TxDOT contends that there
is no clear and unambiguous waiver of sovereign immunity for attorney's fees and interest on
contract claims against TxDOT.  The ALJ recommended approval of Mid-South's claims for
attorney's fees and interest, but the executive director denied both claims in the final order.  The
district court reversed the final order, awarding attorney's fees, but not interest, to Mid-South. (16) 
TxDOT seeks reversal of the district court's judgment to the extent it awards attorney's fees to Mid-South.  Because we conclude that sovereign immunity has been waived, we affirm the district court's
judgment awarding attorney's fees. (17)

		Sovereign immunity protects the state from lawsuits for money damages and includes
both immunity from suit and immunity from liability.  General Servs. Comm'n v. Little-Tex
Insulation Co., 39 S.W.3d 591, 594 (Tex. 2001).  Immunity from suit bars a suit against the state
unless the legislature has expressly consented to the suit.  Id.  If the legislature has not expressly
waived immunity from suit, the state retains such immunity even if its liability is undisputed. 
Federal Sign v. Texas S. Univ., 951 S.W.2d 401, 405 (Tex. 1997).  Immunity from liability protects
the state from money judgments even if the legislature has consented to suit.  Little-Tex, 39 S.W.3d
at 594.


		A.	Immunity from suit

		TxDOT argues that it has sovereign immunity from Mid-South's claims for attorney's
fees and interest because nothing in the plain language of section 201.112 of the transportation code
waives sovereign immunity for those claims.  We disagree.  Section 201.112 provides that a person
may seek resolution of "a claim arising out of a contract."  See Tex. Transp. Code Ann. §&nbsp;201.112(a). 
The supreme court has held that section 201.112 provides the exclusive remedy for contract claims
against TxDOT.  See Jones Bros., 92 S.W.2d at 484.  Based on this holding, we conclude that
section 201.112 waives sovereign immunity from suit for all claims arising out of a contract
governed by that section.  See Tex. Transp. Code Ann. §&nbsp;201.112(a)(1)-(5) (describing those
contracts subject to section 201.112).

		Having concluded that section 201.112 waives immunity from suit for all claims
"arising out of a contract," we must determine whether Mid-South's claims for attorney's fees and
interest are claims "arising out of a contract" within the meaning of section 201.112.  This question
presents a matter of statutory construction.

		When construing a statute, our primary goal is to determine and give effect to the
legislature's intent.  City of San Antonio v. City of Boerne, 111 S.W.3d 22, 25 (Tex. 2003).  To
determine legislative intent, we look to the statute as a whole, as opposed to isolated provisions. 
State v. Gonzalez, 82 S.W.3d 322, 327 (Tex. 2002).  We begin with the plain language of the statute
at issue and apply its common meaning.  City of San Antonio, 111 S.W.3d at 25.  Where the statutory
text is unambiguous, we adopt a construction supported by the statute's plain language, unless that
construction would lead to an absurd result.  Fleming Foods of Tex., Inc. v. Rylander, 6 S.W.3d 278,
284 (Tex. 1999).

		The word "arise" means to originate, stem, or result from.  Black's Law Dictionary
102 (7th ed. 1999).  The supreme court has previously construed the phrase "arising out of" in
section 101.057(2) of the Texas Tort Claims Act. (18)  See Delaney v. University of Houston,
835&nbsp;S.W.2d 56, 59 (Tex. 1992).  Section 101.057(2) is an exception to the limited waiver of
immunity under the tort claims act, which provides in relevant part that the Texas Tort Claims Act
does not apply to a claim "arising out of assault, battery, false imprisonment or any other intentional
tort .&nbsp;.&nbsp;.&nbsp;."  Id. at 58.  Consistent with its holding in LeLeaux v. Hamshire-Fannett Independent
School District, 835 S.W.2d 49, 51 (Tex. 1992), in which the supreme court construed the phrase
"arises from" in section 101.021 of the tort claims act, (19) the supreme court in Delaney held that the
phrase "arising out of" requires a certain nexus, or connection, between the claim and the intentional
tort.  Delaney, 835 S.W.2d at 59.

		In this case, Mid-South filed an administrative claim under section 201.112 asserting
claims for additional compensation under the contract, as well as claims for attorney's fees and
interest under the Prompt Payment Act, chapter 2251 of the government code.  There can be little
doubt that Mid-South's claims for attorney's fees and interest stem or result from the contract. 
Without the contract and the claims for additional compensation thereunder, Mid-South would have
no claims for  attorney's fees or interest.  Based on the supreme court's holding in Delaney, we find
a sufficient nexus between Mid-South's claims for attorney's fees and interest and the contract
between Mid-South and TxDOT.  See id.  Therefore, we conclude that Mid-South's claims for
attorney's fees and interest are claims "arising out of a contract" within the meaning of section
201.112 and that section 201.112 necessarily waives sovereign immunity from suit on those claims.


		B.	Immunity from liability

		We next consider whether immunity from liability has likewise been waived.  The
supreme court has consistently held that the state waives immunity from liability when it contracts
with a private party.  Compare Tex. Transp. Code Ann. §&nbsp;201.112(e), with Texas Natural Res.
Conservation Comm'n v. IT-Davy, 74 S.W.3d 849, 854 (Tex. 2002), and Little-Tex, 39 S.W.3d at
594.  Texas law is clear, however, that a prevailing party may not recover attorney's fees unless
permitted by statute or contract.  See, e.g., Holland v. Wal-Mart Stores, Inc., 1 S.W.3d 91, 95
(Tex.&nbsp;1999); Travelers Indem. Co. of Conn. v. Mayfield, 923 S.W.2d 590, 593 (Tex. 1996); Dallas
Cent. Appraisal Dist. v. Seven Inv. Co., 835 S.W.2d 75, 77 (Tex. 1992); First City Bank-Farmers
Branch v. Guex, 677 S.W.2d 25, 30 (Tex. 1984); New Amsterdam Cas. Co. v. Texas Indus., Inc.,
414&nbsp;S.W.2d 914, 915 (Tex. 1967).  Neither party argues that the contract provides for the recovery
of attorney's fees or interest.  TxDOT argues that section 201.112 expressly states that it does not
waive sovereign immunity from liability.  TxDOT further contends that the Prompt Payment Act
does not apply and, even if it did, there is no clear and unambiguous waiver of sovereign immunity
from liability in the statute.  Mid-South responds that the legislature's inclusion of section 2251.053,
see Tex. Gov't Code Ann. §&nbsp;2251.053 (West Supp. 2007), which expressly applies to contracts
with&nbsp;TxDOT, demonstrates that the Prompt Payment Act applies in this case.  Mid-South also
points&nbsp;to section 2251.043, see id. §&nbsp;2251.043 (West 2000), as providing an express waiver of
sovereign immunity.

		The Prompt Payment Act requires governmental entities, including state agencies like
TxDOT, to make timely payments for the purchase of goods and services, including purchases made
by contract.  See generally Tex. Gov't Code Ann. §§&nbsp;2251.001-.055; House Comm. on Bus. &amp;
Commerce, Bill Analysis, Tex. H.B. 275, 69th Leg., R.S. (1985).  By its express terms, government
code section 2251.053 "applies only to a contract entered into by [TxDOT] for the construction or
maintenance of a highway or related facility."  Tex. Gov't Code Ann. §&nbsp;2251.053(a).  We agree with
Mid-South that the legislature's inclusion of section 2251.053 makes clear that the Prompt Payment
Act, chapter 2251 of the government code, applies to contracts with TxDOT.

		Moreover, section 2251.043 provides that in a formal administrative or judicial action
to recover a payment or interest due under chapter 2251, "the opposing party, which may be the
governmental entity or the vendor, shall pay the reasonable attorney's fees of the prevailing party." 
Id. §&nbsp;2251.043 (West 2000).  By its terms, section 2251.043 requires the opposing party to pay the
prevailing party's attorney's fees regardless of whether the opposing party is a governmental entity. 
Id.  The plain language of this provision contemplates that a governmental entity like TxDOT may
be required to pay reasonable attorney's fees.  Id.  By authorizing such payments, it follows and we
conclude the legislature in section 2251.043 has waived sovereign immunity from liability for
the&nbsp;award of attorney's fees.  See Texas Educ. Agency v. Leeper, 893 S.W.2d 432, 446 (Tex. 1994)
(by authorizing awards of attorney's fees, the Uniform Declaratory Judgments Act necessarily
waives governmental immunity for such awards). (20)  We overrule TxDOT's second issue and affirm
the district court's judgment that Mid-South is entitled to recover attorney's fees.


	4.	Substantial Evidence

		In its third and fourth issues on appeal, TxDOT claims that the district court erred in
reversing the final order because it was supported by substantial evidence.  Specifically, TxDOT
argues that substantial evidence supports the executive director's findings, conclusions, and
decisions regarding operational delays, microsurfacing, and return of liquidated damages.  As
previously noted, there is no evidence in the record supporting the executive director's decision to
reduce Mid-South's efficiency by a factor of 50%; therefore, we conclude that the executive
director's findings, conclusions and decision regarding operational delays are not supported by
substantial evidence.  With regard to the executive director's findings, conclusions and decisions on
microsurfacing and return of liquidated damages, we find that, based on Stucker's testimony, there
is substantial evidence to support the executive director's decision.  Nevertheless, as explained
above, we conclude that the executive director's decision was arbitrary and capricious.  Accordingly,
we overrule TxDOT's third and fourth issues.


Mid-South's Claim on Cross-Appeal

		In a single issue on cross-appeal, Mid-South argues that the district court erred in
denying Mid-South's claim for interest under the Prompt Payment Act.  See Tex. Gov't Code Ann.
§§&nbsp;2251.002 (exceptions to interest payments), .026 (authorizing interest payments by state
agencies).  Section 2251.002 of the government code provides that where there is a bona fide dispute
between a political subdivision and a vendor, contractor, subcontractor, or supplier that causes a
payment to be late, interest is not due on that payment.  See id. §&nbsp;2251.002(a)(1). (21)  Because the
district court found that a bona fide dispute existed between Mid-South and TxDOT, the district
court affirmed the final order finding that Mid-South was not entitled to interest.  We disagree.

		Section 2251.026(a) of the Prompt Payment Act provides that state agencies, like
TxDOT, are liable for interest on overdue payments. (22)  Id. §&nbsp;2251.026(a) (West Supp. 2007).  In the
case of a disputed payment, section 2251.042 provides that a vendor, like Mid-South, is entitled to
interest if the dispute is resolved in the vendor's favor.  See id. §&nbsp;2251.042 (West 2000).

		Moreover, the exception for a "bona fide dispute" found in section 2251.002(a)(1)
applies only to political subdivisions, not state agencies.  Id. §&nbsp;2251.002(a)(1).  That exception
provides:


	This chapter does not apply to a payment made by a governmental entity, vendor, or
subcontractor if: . . . there is a bona fide dispute between the political subdivision and
a vendor, contractor, subcontractor or supplier about the goods delivered or the
services performed that causes the payment to be late.


Id. (emphases added).  The Prompt Payment Act's definition of "governmental entity" confirms this
distinction.  See id. §&nbsp;2251.001(3) (West Supp. 2007).  Section 2251.001(3) defines "governmental
entity" as "a state agency or political subdivision of this state."  Id.  TxDOT is a state agency, not
a political subdivision.  Because the plain language of section 2251.002(a)(1) references only "a bona
fide dispute between the political subdivision and a vendor, contractor, subcontractor, or supplier,"
the exception in section 2251.002(a)(1) does not apply to TxDOT--a state agency--and it is not
relevant whether a bona fide dispute existed between Mid-South and TxDOT.  For these reasons,
we conclude that the district court erred in its judgment that Mid-South was not entitled to interest.

		The record reflects that the ALJ awarded interest to Mid-South on those claims in
which he recommended that Mid-South prevail.  The ALJ noted that TxDOT did not dispute the
accrual dates urged by Mid-South. (23)  Nor did TxDOT dispute the interest rates urged by Mid-South. (24) 
The executive director adopted the ALJ's recommendations that Mid-South prevail on Claim Nos.
1, 4, 9, and 13, and TxDOT has not challenged those determinations on appeal.  We conclude that
Mid-South is entitled to interest on Claim Nos. 1, 4, 9, and 13 based on the amounts originally
awarded by the executive director for those claims.  With regard to the additional claims that we
have remanded--including Claim No. 2 for reduced lane closures/operational delays; Claim No. 12
for microsurfacing; and Claim No. 14 for return of liquidated damages--we conclude that Mid-South is entitled to interest based on the amounts ultimately awarded on remand.  Accordingly, we
sustain Mid-South's issue on cross-appeal, and we remand for further proceedings to determine the
interest due on Mid-South's claims.


CONCLUSION


		Having considered all of the claims raised on appeal by both TxDOT and Mid-South,
we affirm the district court's judgment reversing the final order in part, and we reverse in part and
remand this cause to TxDOT for further proceedings consistent with our opinion as authorized under
section 2001.174(2) of the APA.  See Tex. Gov't Code Ann. §&nbsp;2001.174(2) (West 2000).  With the
exception of the issue regarding interest due Mid-South, we limit the scope of this remand to the
record previously established by the parties before the ALJ.  See Texas Health Facilities Comm'n
v. Nueces County Hosp. Dist., 581 S.W.2d 768, 770 (Tex. Civ. App.--Austin 1979, no writ)
(limiting scope of remand under similar statute); First Sav. &amp; Loan Assoc. v. Lewis, 512 S.W.2d 62,
64 (Tex. Civ. App.--Austin 1974, writ ref'd n.r.e.) (court may control scope of its remand).





						__________________________________________

						Jan P. Patterson, Justice

Before Justices Patterson, Puryear and Pemberton

Affirmed in part; Reversed and Remanded in part

Filed:   December 19, 2007

1.   Microsurfacing is a special hot mix asphaltic concrete (HMAC) slurry that is used to
improve skid resistance on the driving lanes of bridges.  Microsurfacing is applied in a thinner layer
than HMAC pavement.
2.   Petromat is a sheet of fabric that is placed between the roadbed and the asphalt paving.
3.   Although the PFD states the preconstruction meeting was held on January 28, 1999, the
record reflects that it was actually held on January 22, 1999.
4.   The gross error standard applies when the parties to a contract agree to be bound by
the&nbsp;decision of a referee.  Texas Dep't of Transp. v. Jones Bros. Dirt &amp; Paving Contractors, Inc.,
92&nbsp;S.W.3d 477, 480 (Tex. 2002).  Under this standard, a referee's decision is final and conclusive
"unless in making it [the referee] is guilty of fraud, misconduct, or such gross mistake as would
imply bad faith or failure to exercise honest judgment."  City of San Antonio v. McKenzie Constr.
Co., 150 S.W.2d 989, 996 (Tex. 1941).


		Item 5.2 of the contract between TxDOT and Mid-South states, "The Engineer will act
as referee in all questions arising under the terms of the contract between the parties thereto and his
decision shall be final and binding."  We conclude that the plain language of section 5.2 supports
application of the gross error standard to Mid-South's claims.  See Jones Bros., 92 S.W.3d at 480. 
Mid-South does not challenge application of the gross error standard on appeal.
5.   Under the terms of the contract, TxDOT Area Engineer Jimmey Bodiford served as referee.
6.   Although Charles Shook testified on behalf of TxDOT regarding the delays associated with
TxDOT's refusal to allow overnight lane closures, he did not apply a 50% reduction to Mid-South's
efficiency.  There was no evidence in the record that Mid-South's efficiency should be reduced by
a factor of 50%.
7.   The executive director provided this explanation in finding of fact 92 of the final order, but
did not provide a separate explanation for the change to finding of fact 96.  We note that finding of
fact 96 is simply the mathematical calculation of the amount to be awarded Mid-South when
applying the 50% loss of efficiency factor.
8.   Since microsurfacing is a liquid asphalt, TxDOT imposes a temperature requirement that
prohibits putting down microsurfacing in colder weather.
9.   The ALJ found this direct contact to be one of several instances of TxDOT's direct
negotiations and interference with a Mid-South subcontractor.
10.   The ALJ recommended payment in the amount of $159,269, which included "the amount
of Cox [Paving]'s invoice, less the amount paid by TxDOT for part of the work, plus the amount of
Dustrol's invoice for the milling [and removal of the microsurfacing], plus some equipment and
supply costs."
11.   The executive director also made a corresponding change to conclusion of law 11.
12.   Language added by the executive director appears in brackets [  ], and language deleted
by the executive director appears in strike out.
13.   The supreme court dismissed the petition for review pursuant to settlement on April 28,
2006.
14.   TxDOT Exhibit No. P1B, also referred to by the parties as "the Bohuslav report," was a
document prepared by TxDOT for the purpose of settlement negotiations with Mid-South.  Under
TxDOT rules, this report is not admissible for any purpose, and TxDOT objected to its admissibility
in the hearing before SOAH.  See 43 Tex. Admin. Code §&nbsp;9.2(b)(3)(C) (West 2007).  We observe,
however, that the executive director relied on this report in the final order.
15.   That the executive director chose to believe Stucker, a TxDOT employee, over Laumer,
a third-party subcontractor, is underscored by TxDOT's challenge below to the admissibility of
Exhibit No. P1B--a challenge they do not bring forth on appeal.
16.   The district court based its award of attorney's fees on section 2251.043 of the Prompt
Payment Act.  See generally Tex. Gov't Code Ann. §§&nbsp;2251.001-.055 (West 2000 &amp; Supp. 2007).
17.   We address Mid-South's cross-appeal on the district court's denial of interest below.
18.   Tex. Civ. Prac. &amp; Rem. Code Ann. §&nbsp;101.057(2) (West 2005).
19.   Tex. Civ. Prac. &amp; Rem. Code Ann. §&nbsp;101.021 (West 2005).
20.   Because the plain language of section 2251.026 of the government code likewise
authorizes interest payments by a state agency, we also conclude that the legislature has necessarily
waived sovereign immunity from liability for the award of interest.  See Tex. Gov't Code Ann.
§&nbsp;2251.026 (West Supp. 2007); Texas Educ. Agency v. Leeper, 893 S.W.2d 432, 446 (Tex. 1994).
21.   We note that section 2251.002 was amended in 2003, but the amendment provided that
it only applied to contracts executed after September 1, 2003.  See Act of May 28, 2003, 78th Leg.,
R.S., ch. 286, §&nbsp;4(b), 2003 Tex. Gen. Laws 1252, 1255.  The parties agree that because the contract
at issue here was executed in 1998 the pre-2003 version of section 2251.002 applies.  The parties
also agree that the 2003 amendments do not affect the outcome of this appeal because there were no
substantive changes to the relevant provisions in the statute.  Therefore, we cite to the current version
of the statute.
22.   Prior to its amendment in 2001, section 2251.026(a) provided:


	If the warrant for a payment the originating state agency owes is not mailed or
electronically transmitted before the payment is overdue, the agency is liable for an
interest payment that accrues under this chapter.


Act of May 4, 1993, 73rd Leg., R.S., ch. 268, §&nbsp;1, 1993 Tex. Gen. Laws 583, 845, amended by Act
of May 20, 1997, 75th Leg., R.S., ch. 634, § 3(a), 1997 Tex. Gen. Laws 2179, 2180 (current version
at Tex. Gov't Code Ann. §&nbsp;2251.026(a) (West Supp. 2007)).  The current version of section
2251.026(a) provides:


	A state agency is liable for any interest that accrues on an overdue payment under this
chapter and shall pay the interest from funds appropriated or otherwise available to
the agency at the same time the principal is paid.


Tex. Gov't Code Ann. §&nbsp;2251.026 (West Supp. 2007).
23.   Mid-South urged accrual dates of July 20, 2000 for Claim No. 12; October 3, 1999, for
claim No. 14; and October 3, 1999, for all other claims.
24.   Based on section 2251.025(b) of the government code, Mid-South urged an interest rate
of 1% per month through June 30, 2004, and 5% per annum (the Wall Street Journal prime rate as
of July 1, 2003, plus 1%) thereafter.  See Tex. Gov't Code Ann. §&nbsp;2251.025(b) (West 2000 &amp; Supp.
2007).  Although TxDOT did not dispute the interest rates urged by Mid-South, we note that section
2251.025(b) was amended in 2003, and the legislature provided that the amendments do not apply
to a payment that became overdue before September 1, 2004.  See Act of June 2, 2003, 78th Leg.,
R.S., ch. 1310, §&nbsp;122(f), 2003 Tex. Gen. Laws 4748, 4794-95.  The rate of interest for such a
payment is "the rate determined under the law in effect before July 1, 2004, and the former law is
continued in effect for that purpose."  Id.

